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 EXHIBIT 83
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   Message

   From                                                                                                                                                         GROUP
                                                                                                                                                                                                                                  150
                                     Jill    Cronauer       OEXCHANGELABS OU EXCHANGE ADMINISTRATIVE                                                                                                                              Oaksmith
                                     FYDIBOHF23SPDLT CN RECIPIENTS CN 91572F2805FF4209A5967A6F23875FA9-JILL                                                                                                                       1/20/2022
                                                                                                                                                                                                                              Lauren Harty, CCR
  Sent                               625 2020 5 0845 PM
  To                                 arora nitika93 gmail com

   CC                                kayla Stevens              kayla hunterscapital com                     kayla hunterscapital com Carolann                                          Wheelis

                                     Carolannhunterscapital com

  Subject                            FW CHOP               Dissapointed




   Good Morning Nitika


  Thank        you for taking the time to expressed your opinion                                                       I

                                                                                                                           hope     my response                  to your          concerns       helps to          put you at ease

   at least            as    it   relates to            the building          where you live


  We support the Black                              Lives       Matter movement and the charge for aggressive reform of the police and                                                                           apologize              that     this


   is   has not been not clear                              We are working              on    telling      our story better                        We do and have                     invested        in   community

   organizations                    whose missions                are aligned          with these efforts                     Our CEO and                  founder has sat on the board of the

   Northwest                 African          American           Museum          since     inception              He sat on the Capitol                         Housing board for                 a    decade           I   took        his    place

  two years ago and am now sitting                                        Secretary We are an annual sponsor at the Seattle Central                                                             Foundation              Fundraiser

   specifically              donating             to    the scholarship             fund SCC mostly serves marginalized                                         communities and                  students          of       color           Kayla         is



   involved             in   their          mentorship program                   Hunters        Capital also                supports           University             Beyond Bars an organization                                 that

   confronts             systemic              racism       and    provides          a solution      by educating                  incarcerated                 students              with college level classes                        I
                                                                                                                                                                                                                                             am
   sharing            this     with you not                in   an attempt to justify what                      we have done in the past or are currently                                              are   doing           is   enough
   We are exploring ways to support BILM directly and for a length                                                                 of time Community                             is   not something              we strive for                 it    is   a

   part      of       who we are


   We have              been working                    very hard for our residents                   and tenants                  these           last   several      months            All    of our properties are


   densely             set     in   Capitol         Hill    Many        of the      retailers and          restaurants             you see on the street are                             in    our buildings As you know

   COVID-19 has had a near catastrophic                                          economic         effect          on       them Because we have                             so    many tenants              in   this


   neighborhood                          we are keenly            aware the          retail    vitality      of this         neighborhood                  is   strongly correlated                   to    the success                 of   our

  tenants              and        must do           everything          we can       to help     them survive                  Early June             King      County moved                   us into      phase 1 5 The

  tenants              of 4 of our properties                     in    or adjacent        to   CHAZ CHOP                    could not              We are now in phase 2 These                                  tenants           in   and

   adjacent             to     CHOP           for   the most part are still                   operating           in       phase    1    if
                                                                                                                                              open        at all




   I    am relieved                 to      know    that the       protests         have      been    only        an annoyance                     for you        Many           of    your fellow residents                      have had            a


  very       different              experience             including          harassment violence                          threats       inability         to    receive          necessary items like medicine                                and

  food         Residents                    who   are      immune compromised has                          felt   trapped           in   their        apartment for almost a month                                  Yesterday                 we
  found        a stray bullet                     had    come through               a tenant's       window next door These                                 experiences                 have caused          trauma and

   psychological                    distress




  Weeks               of daily         emails to our city's               officials     sharing      the stores of residents                              and tenants                 have    been met with silence                           It's



  true that the                   mayor city               and CHOP organizers                  no longer support this protest taking place                                              in    our neighborhood                         We are
   hopeful             that those             who remain will respect                      the message to move the movement on                                                   line   and    protest       in   other areas and

   if   here not at night                         But our trust          in   the    city's   ability      to     manage           this       is   weak


   I    have   read through                       most of the complaint on the Black                              Lives       Matter lawsuit                    and    it   is   impressive           and    important work

  thank you



   If   we hosted a time and                             place    for    our small Broadway                  Building          community to gather                           for education                 and bring awareness

   in    a   meaningful                     way would           you be willing to lead the discussion                                We are open to your suggestions                                        to   do more



   Nikita         I    am also available                   to talk       anytime        My cell       is   206 300-6995




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   Best    regards



  Jill   Cronauer



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   From Nitika Arora
  Sent Wednesday                            June 24 2020 941                   PM
  To      Kayla              Stevens        Carolann Wheelis

  Subject                CHOP          Dissapointed



   Good Evening


   I   want to share my disappointment                                    in   learning        that       Hunters    Capital   has chosen to use the money                                we pay you to initiate
   legal    proceedings                 against             the City for not disbanding                    CHOP which seems to be unraveling anyway                                           as a result of         non
  violent           negotiations                 between        the City and organizers Especially when                              Hunters          Capital has not exhibited                         any meaningful

   condemnation                    of police           brutality or support of                  the anti-racist          movement


   I   am a resident who                         considered         not renewing              my lease due to CHOP-but                      I   did   renew because                     the    city   seemed         to   have

   been taking a responsible                                approach      to    winding         it
                                                                                                     up   cf their response          to non-violent                      protests       leading       up to    CHOP And
  that     is       exactly      what seems to be the case                            as of     today-the           date you    filed     your lawsuit



   None         of       your emails to your residents                         have         demonstrated any condemnation                          of    the systemic               injustice         this   country has

   levied           against       Black      Americans-the same injustice                                 that   sparked these protests                 in   all        50 states and CHOP itself-apart

  from fleeting                  lip   service         in   your emails to some general solidarity with the anti-racist                                                 movement


   I
       am dissapointed                  at       how this company                chose        to     address      this   situation   in    such    a tone               deaf and irresponsible way



  Against            the backdrop                 of   other Capitol           Hill   businesses making the news for engaging                                      in    racist   and shameful               reactions      to

   CHOP see Momiji                           I

                                                 hope you understand                    how distasteful your decision                     to    sue comes off when                       Hunters         Capital has

   made no efforts                     to   address the pain at the heart                            of this     issue



   I
       hope         to       counter-balance                your decision to funnel                   our rental         payments    into       lawsuits            against       the    city   you     will   also donate

   a significant                sum    to organizations              supporting police reform and the anti                                racist   movement                    Else your message                is   clear

  you     prioritize             property over black                  lives




   Note         I
                    recognize your right to sue the city                                I    am an attorney on the case team                       suing Seattle                  on behalf       of Black      Lives

   Matter                I
                             recognize       you may have              incurred             a financial     loss as a result of         CHOP            But        if   Hunters     Capital       does not recognize

  what      is
                     happening              in   this   country      is
                                                                          bigger       than        property damage or pecuniary                       loss-it            is
                                                                                                                                                                              severely        out of touch       with

   reality




   Please           do better




   Nitika           Arora




   On Jun 23 2020                      at    1223           Kayla   Stevens                                                          wrote




   Good Afternoon




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                                                                                                                                                HUNTERS CAPITAL
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   I   wanted   to   send   a   quick   update   abut CHOP   in   light   if   the recent     events that occurred        this   weekend Hunters           capital   has

   been directly      in   touch with the Mayor and        her office          in   efforts to resolve      the issues with the events occurring            at   CHOP
  While    we cannot        disclose    the particulars of this meeting              or   subsequent       action   we are confident   that   there   is   resolution

   on the horizon

                We thank you for your patience          and understanding                  during   this   trying   time and want you to know that           we have
  your best interests           in   mind while we are navigating         this      unprecedented          situation




  Thank    you



   Kayla Stevens

   SeniorCommunity Manager
   Broadway Building and Dunn Motors                         Building

   206-323-1500             1206-257-1999


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